
KELLUM, Judge,
concurring specially.
I write specially to note that this action appears to be Kenneth James Jackson’s fifth Rule 32, Ala. R.Crim. P., petition challenging his 1991 conviction for capital murder and his resulting sentence of life imprisonment without the possibility of parole. I believe that allowing Jackson to file multiple petitions for postconviction relief in which his claims are either precluded or without merit wastes scarce judicial resources. Therefore, I would encourage the circuit court to consider adopting sanctions like those proposed in Peoples v. State, 531 So.2d 323 (Ala.Crim.App.1988), and Procup v. Strickland, 792 F.2d 1069 (11th Cir.1986), to prevent future frivolous litigation on the part of Jackson and other similarly situated inmates. See Ex parte Thompson, 38 So.3d 119 (Ala.Crim.App.2009).
